Case 1:24-cr-00217-LLA Document 26 Filed 12/19/24 Page1of2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff, Criminal Action No. 24-217 (LLA)

Vv.

LOWELL GATES

Defendant.

JOINT MOTION TO RESET COMMENCEMENT OF TRIAL

1. Pursuant to this Court’s Pre-Trial Order entered following the status conference
on November 25, 2024, trial in this case is scheduled to commence on April 14, 2025 at 9:30

a.m.

2. The parties have agreed to move the trial date one week forward to commence on

April 7, 2025, at 9:30 a.m. to avoid conflict with the Easter holiday.

3. All other deadlines as indicated in this Court’s Pre-Trial Order shall remain as
scheduled.
4. As this is a joint Motion, the Government concurs and joins in this request.

Respectfully submitted,

By: Jerry J. Russo, Esquire
Bar No. #55717
TUCKER ARENSBERG, P.C.
300 Corporate Center Drive
Suite 200
Telephone: (717) 234-4121
jrusso@tuckerlaw.com

Case 1:24-cr-00217-LLA Document 26 Filed 12/19/24 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that I caused this to be served upon counsel for the government via ECF

and the unredacted version was served by email.

Craig Estes, USAO
John Joseph Moakley Federal Courthouse
1 Courthouse Way
Boston, MA 02210
craig.estes@usdoj.gov

By: /s/_Jerry J. Russo

Jerry J. Russo, Esquire
Attorney I.D. No. 55717
jrusso@tuckerlaw.com
Counsel for Mr. Gates
